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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   SETH JOHN WILCOX,

 9                              Petitioner,               CASE NO. 3:21-cv-05717-RSM-BAT

10           v.                                           ORDER GRANTING MOTION TO
                                                          AMEND RESPONDENT
11   JEFFREY UTTECHT ,

12                              Respondent.

13          The Court GRANTS petitioner's motion to amend the Respondent to reflect Melissa

14   Andrewjeski is the current Superintendent to be named in this matter. Dkt. 8. The Court directs

15   the parties that all pleadings henceforth shall name Mr. Andrewjeski as Respondent. The Clerk is

16   also directed to amend the docket to reflect Melissa Andrewjeski, Superintendent, Coyote Ridge

17   Corrections Center is the Respondent.

18          DATED this 4th day of November, 2021.

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                                                         BRIAN A. TSUCHIDA
21                                                       United States Magistrate Judge

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     ORDER GRANTING MOTION TO AMEND
     RESPONDENT - 1
